     CASE 0:09-cr-00109-JNE-JJK      Doc. 840   Filed 01/08/10   Page 1 of 19




                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


United States of America,                             Crim. No. 09-109 (JNE/JJK)

             Plaintiff,
v.

1. Roberto Guadalupe Aleman, also                    REPORT AND
known as Cono;                                     RECOMMENDATION
2. Maria Isabel Aleman; and
3. Juan Fidel Aleman;

             Defendants.


Jeffrey M. Bryan, Esq., and Christian S. Wilton, Esq., Assistant United States
Attorneys, counsel for Plaintiff.

Craig E. Cascarano, Esq., Cascarano Law Office, counsel for Defendant
(1) Roberto Guadalupe Aleman.

Douglas B. Altman, Esq., Altman & Izek, counsel for Defendant (2) Maria Isabel
Aleman.

Steven L. Bergeson, Esq., Tuttle Bergeson, PA, counsel for Defendant (3) Juan
Fidel Aleman.


JEFFREY J. KEYES, United States Magistrate Judge

                                  INTRODUCTION

      This matter has been referred to this Court for a Report and

Recommendation pursuant to 28 U.S.C. § 636 and Dist. Minn. Loc. R. 72.1 on

the following pretrial motions:

      Defendant (1) Roberto Guadalupe Aleman
      -    Motion to Suppress Confessions, Admissions, or Statements
           Made in the Nature of Confessions (Doc. No. 622),
                                     1
     CASE 0:09-cr-00109-JNE-JJK     Doc. 840    Filed 01/08/10   Page 2 of 19




      -     Motion to Suppress Evidence Obtained Through Illegal Search
            (Doc. No. 625), and
      -     Motion to Suppress Search and Seizure Evidence (Doc. No.
            626);

      Defendant (2) Maria Isabel Aleman
      -    Motion to Suppress Evidence Obtained Through Electronic
           Surveillance or Wiretapping (Doc. No. 769), and
      -    Motion to Suppress Evidence Resulting from Searches and
           Seizures (Doc. No. 772); and

      Defendant (3) Juan Fidel Aleman
      -    Motion to Suppress Evidence of Electronic Surveillance and
           Wiretapping (Doc. No. 551),
      -    Motion to Sever Defendant (Doc. No. 570),
      -    Motion to Sever Counts (Doc. No. 572),
      -    Motion to Suppress Statements, Admissions and Answers of
           Defendant (Doc. No. 546), and
      -    Motion to Suppress Evidence Obtained as a Result of Search
           and Seizure (Doc. No. 573).

      A criminal-motions hearing was held before the undersigned on

November 3, 2009, at which Alcohol, Tobacco, and Firearms Special Agent

Jayme Syversen testified. (See Doc. No. 804.) Following the hearing on these

motions, the Court established a post-hearing briefing schedule so that the

Defendants could present written argument regarding their pretrial motions.

Defendant (1) Roberto Guadalupe Aleman did not file a post-hearing brief.

Defendant (2) Maria Isabel Aleman also chose not to submit any post-hearing

briefing and instead submitted her motions on the moving papers already filed.

(Doc. No. 813.) Defendant (3) Juan Fidel Aleman filed a post-hearing

memorandum (Doc. No. 823, Def. Juan F. Aleman’s Mem. in Supp. of

Suppression of Wiretaps (“Def. Juan Aleman’s Mem.”)), but only raised argument

                                        2
      CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10    Page 3 of 19




regarding suppression of the results of electronic surveillance, and did not

address his other pretrial motions. For the reasons that follow, this Court

recommends that all of the motions be denied.

                                  BACKGROUND

      The three Defendants named above have been charged with multiple

counts of conspiracy to distribute methamphetamine and cocaine, conspiracy to

commit money laundering, and other related offenses. (See Doc. No. 114.) As

part of the investigation of the offenses charged in the Superseding Indictment,

federal law-enforcement officials attempted a number of techniques to uncover

evidence of a suspected drug-trafficking organization (“DTO”), in which the three

Defendants were suspected to be involved. (Doc. No. 804, Tr. of Criminal Mots.

Hr’g (“Tr.”), passim.) Special Agent Syversen explained that he and other

officers first attempted to use cooperating individuals, including informants and

cooperating defendants, as well as controlled purchases to obtain information

about the DTO. (Tr. 13.) However, the officers were only able to identify some

of the individuals involved in the DTO and some of its methods for transporting

and distributing cocaine from Mexico into the United States because of the

informants’ reluctance to testify for fear of reprisal and the limited success of

controlled purchases. (Id. at 13-15.) The officers also had difficulty conducting

surveillance of Defendant Juan Aleman (Id. at 15), and of various locations with

which Juan Aleman was believed to be associated. (Id. at 15-18.)


                                          3
     CASE 0:09-cr-00109-JNE-JJK       Doc. 840    Filed 01/08/10   Page 4 of 19




      Syversen testified that the investigation did not involve seeking search

warrants in the early stages because the investigating officers believed that

executing warrants early on would provide limited results and impede uncovering

more information about the scope of the DTO. (Tr. 20.) Syversen and his team

instead attempted to use pen registers to uncover information about the DTO

suspects who were communicating by telephone, but they had limited success in

this effort because several of the individuals they were investigating used fake

names, thus making it difficult to identify whose phone was used on any given

call. (Id. at 20-21.) Similarly, the circumstances surrounding the various

locations the officers believed were connected to the DTO’s members made

searches of the trash from those locations impracticable. (Id. at 21-22.) At one

location, the occupants of the residence never placed trash outside, and at

another, officers determined the location of the residence made approaching it

difficult and dangerous. (Id.) Grand jury subpoenas for financial information

regarding the DTO’s members also provided limited information. (Id. at 23.)

      After being presented with these and other investigative difficulties,

Syversen and his team decided to seek a Title III wiretap of several target

phones. (Tr. 7, 23.) On January 13, 2009, these officers obtained authorization

for a wiretap of three telephones, two of which belonged to Defendant Roberto

Aleman, and another belonging to Defendant Juan Aleman. (Id. at 7; Hr’g Exs.

1-4.) This wiretap was to last for up to 30 days. (Hr’g Ex. 3 at 3-4.) Just prior to


                                         4
     CASE 0:09-cr-00109-JNE-JJK       Doc. 840    Filed 01/08/10   Page 5 of 19




the expiration of this 30-day period, Syversen and his team sought an extension

of the wiretap for an additional 30 days for the same three target telephones, and

received an Order authorizing the extension. (Tr. 24-25; Hr’g Exs. 6-9.)

Syversen’s team sought the extension because the full scope of the DTO had not

yet been discovered and other methods of investigation had limited success. (Tr.

26-27.) Syversen’s team stopped listening to Juan Aleman’s target telephone

before the 30-day period because he was no longer using it. (Id. at 28-29.)

Later, on March 12, 2009, Syversen’s team sought a second extension for the

two telephones used by Roberto Aleman, and received an Order authorizing the

intercepts. (Id. at 28-30; Hr’g Exs. 16-19.)

      After encountering several difficulties with other investigative techniques

aimed at Defendant Maria Aleman (Tr. 35-39), on February 17, 2009, based on

information Syversen’s team obtained through their wiretap investigation, officers

sought a Title III wiretap for a fourth telephone belonging to her. (Id. at 33; Hr’g

Exs. 11-12.) The District Court issued an Order authorizing this wireless

intercept for a 30-day period. (Tr. 34; Hr’g Ex. 15.) Shortly after the 30-day

period expired on the wiretap of Maria Aleman’s phone, on March 26, 2009, the

team applied for and were granted an Order authorizing an additional 30-day

wiretap of Maria Aleman’s phone. (Tr. 40-41; Hr’g Exs. 21-24.)

      Once all of the wiretaps were discontinued, the investigating officers

closed the wiretaps by applying for and obtaining sealing Orders. (Tr. 42-44;


                                          5
      CASE 0:09-cr-00109-JNE-JJK       Doc. 840    Filed 01/08/10   Page 6 of 19




Hr’g Exs. 26-33.) Prior to closing down the wiretaps, agents listened to

approximately 9,600 phone calls and monitored each phone call to determine if it

was pertinent to the investigation. (Tr. 44.) For each phone that was the target

of the wiretap, agents completed a minimization memorandum detailing the steps

taken by the listening officers to avoid overhearing non-pertinent information.

(Tr. 10-11, 26, 30-31, 34-35; Hr’g Exs. 5, 10, 15, 20.) For each wiretap, agents

also filed 10-day reports with the District Court regarding their efforts in

compliance with the Orders authorizing the electronic surveillance. (Tr. 45.)

      Agents investigating the DTO involved in this case also executed several

search warrants in the District of Minnesota and the Southern District of Texas.

(Id.) These search warrants sought information related to the DTO believed to

be located at several residences and in one vehicle. (Hr’g Exs. 34-49.)

                                    DISCUSSION

I.    Roberto Guadalupe Aleman’s Motions

      A.     Motion to Suppress Confessions, Admissions, or Statements
             Made in the Nature of Confessions

      As noted above, Roberto Aleman has not filed a memorandum or made

any other argument regarding his motion to suppress statements. The motion

itself asserts that Roberto Aleman’s statements indicated in the Government’s

notice were taken in violation of his constitutional rights. However, there is no

evidence before this Court regarding the circumstances of any statements

Roberto Aleman made to law-enforcement officials. Therefore, there is no record

                                           6
      CASE 0:09-cr-00109-JNE-JJK     Doc. 840   Filed 01/08/10   Page 7 of 19




on which this Court can determine whether Roberto Aleman’s rights were

violated, and his motion to suppress should be denied accordingly.

      B.    Motion to Suppress Evidence Obtained Through Illegal Search
            and Motion to Suppress Search and Seizure Evidence

      Roberto Aleman’s motions to suppress evidence obtained through search

and seizure assert that the searches and seizures in this matter were conducted

in violation of his Fourth Amendment rights. However, he has presented no

argument regarding these alleged violations of his right to be free from

unreasonable searches and seizures, and this Court’s review of the evidence in

this case, including the search warrants admitted at the October 13, 2009

hearing, reveals no such violations. Therefore, this Court recommends that

Roberto Aleman’s motions to suppress be denied.

II.   Maria Isabel Aleman’s Motions

      A.    Motion to Suppress Evidence Obtained Through Electronic
            Surveillance or Wiretapping

      As noted above, Maria Aleman did not submit a post-hearing

memorandum in support of her motions, but informed this Court that she wished

to rest on the motion papers already filed in this matter. Maria Aleman’s motion

asserts that the wiretaps used in this matter to intercept communication on her

telephone violated 18 U.S.C. § 2510, et seq., and that the motion is based on the

files and records in this case as well as the testimony provided at the motion

hearing. (Doc. No. 769.) Absent some specific argument regarding the manner


                                         7
     CASE 0:09-cr-00109-JNE-JJK       Doc. 840   Filed 01/08/10   Page 8 of 19




in which Maria Aleman asserts that the Government violated the rules for

obtaining or administering a wiretap, this Court would have to inappropriately

place itself in the position of advocate to scour the record for arguments on her

behalf. Although this Court has not reviewed the record for the purpose of

raising arguments on Maria Aleman’s behalf, the Court has reviewed the record,

and the record confirms that the Government appears to have followed the

required procedures for seeking, obtaining, and administering a Title III wiretap.

Therefore, this Court recommends that Maria Aleman’s motion to suppress the

results of electronic surveillance be denied.

      B.     Motion to Suppress Evidence Resulting from Searches and
             Seizures

      Maria Aleman also seeks to suppress evidence obtained through the

execution of search warrants at a Bridge Street address, Third Street address,

and Flora Avenue address in Hidalgo, Texas, the execution of a search warrant

for a vehicle, and any other locations for which she has standing to contest a

search. However, she has presented no argument regarding these alleged

violations of her right to be free from unreasonable searches and seizures, and

this Court’s review of the search warrants for the locations she mentions in her

suppression motion reveals no facts warranting suppression. Therefore, this

Court recommends that Maria Aleman’s motion to suppress be denied.




                                         8
       CASE 0:09-cr-00109-JNE-JJK     Doc. 840    Filed 01/08/10   Page 9 of 19




III.   Juan Fidel Aleman’s Motions

       A.      Motion to Suppress Evidence of Electronic Surveillance and
               Wiretapping

       Juan Aleman’s challenge to the wiretap evidence is that “the necessity

requirement” has not been met. “More specifically, it is the Defendant’s position

that the Government had sufficient information prior to the first wiretap to

prosecute this case against him.” (Def. Juan Aleman’s Mem. 1.) Section 2518 of

Title 18 of the United States Code sets forth the necessity requirement, noting

that each application for interception of wire communication must include “a full

and complete statement as to whether or not other investigative procedures have

been tried and failed or why they reasonably appear to be unlikely to succeed if

tried or to be too dangerous.” 18 U.S.C. § 2518(1)(c). “The necessity

requirement of 18 U.S.C. § 2518 ensures ‘that wiretaps are not routinely

employed as the initial step in an investigation.’” United States v. Jackson, 345

F.3d 638, 644 (8th Cir. 2003) (quoting United States v. Thompson, 210 F.3d 855,

858-859 (8th Cir. 2000), and United States v. Maxwell, 25 F.3d 1389, 1394 (8th

Cir. 1994)).

       The necessity requirement is met where other investigative tools

reasonably appear to be unlikely to sufficiently expose the full extent of the

conspiracy—in terms of members and in terms of scope or drug quantity—to

obtain convictions against those conspirators. See Maxwell, 25 F.3d at 1394

(citing United States v. Macklin, 902 F.2d 1320, 1327 (8th Cir. 1990)); see also

                                          9
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 10 of 19




United States v. Smith, 909 F.2d 1164, 1166 (8th Cir. 1990) (concluding that

necessity was established where the affidavit demonstrated that traditional

procedures failed to expose the full extent of the conspiracy and all conspirators);

United States v. O’Connell, 841 F.2d 1408, 1414-15 (8th Cir. 1988) (same).

      The Order authorizing the interception of wire communications that is the

subject of Juan Aleman’s motion was issued by District Court Judge James M.

Rosenbaum on January 13, 2009. In issuing the Order, the District Court found

that there was probable cause to believe that Juan Aleman, as well as other

members of the alleged DTO, violated various federal laws prohibiting the

possession, distribution, and sale of controlled substances. The Court made a

specific finding that the necessity requirement of 18 U.S.C. § 2518 was met: “It

has been established that normal investigative procedures have been tried and

have failed, reasonably appear to be unlikely to succeed if tried, or are too

dangerous to employ.” (Hr’g Ex. 3 ¶ 3.)

      The application for the Order authorizing the wiretaps was based on a 67-

page affidavit of the Drug Enforcement Agency Special Agent Warren Adamson,

which detailed the extensive investigation of the DTO, including the evidence

collected concerning Juan Aleman’s activity as one of the principals in that DTO.

The Government sought the wiretap authorization because it sought to obtain

direct evidence that would convince a jury beyond a reasonable doubt of:

      (a)    [t]he full scope, methods, extent, and personnel involved in the
             [DTO];

                                         10
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10    Page 11 of 19




      (b)    [t]he identity and role of the members of the DTO, including
             the suppliers, sellers, buyers, couriers, financiers, and other
             coconspirators involved;

      (c)    [t]he period of operation of the DTO;

      (d)    the management, disposition, and money laundering of
             revenues and proceeds obtained by the DTO; and

      (e)    the identity of assets held under fictitious names.

(Hr’g Ex. 2 at ¶ 88.)

      Agent Adamson set forth, specifically and in detail, each of the customary

investigative techniques that are usually employed in an investigation of a drug

trafficking conspiracy, but which had in this case been tried and failed, or

reasonably appeared unlikely to succeed if continued or tried, or would be too

dangerous to employ. These included use of confidential sources, under-cover

investigations, physical surveillance, search warrants, pen registers and the toll

records, trash searches, use of grand-jury subpoenas, and review of financial

records.

      At the motions hearing on November 3, 2009, Agent Syversen gave

specific and detailed testimony regarding why the wiretap interceptions were

necessary and why other techniques appeared reasonably likely to fail. He

explained that the investigators had limited success using cooperating informants

who made several controlled purchases from individuals, including Juan Aleman,

in the organization. The problem was that the investigators were only able to

identify some of the principal members of the conspiracy, some of the methods

                                         11
     CASE 0:09-cr-00109-JNE-JJK        Doc. 840   Filed 01/08/10   Page 12 of 19




utilized, and some of the ways the illegal drugs were transported from Mexico to

Texas, and ultimately Minnesota. (Tr. 13-23.)

      In addition to the limited knowledge of the informants, Agent Syversen

explained how each of the informants was “very reluctant to testify” because

each believed that the leaders of the DTO had connections to a criminal cartel in

the area near the Gulf of Mexico who the informants thought “could harm their

family, [and] could harm them, and [thus] they were very reluctant to testify or

willing to do that.” (Id. at 13-14.)

      Agent Syversen also explained why conducting physical surveillance was

difficult in this investigation. This included Juan Aleman’s use of counter-

surveillance measures, such as turning around abruptly to detect any law-

enforcement officials who may be following him, while leaving the scene of a

controlled purchase. (Id. at 14-15.) Surveillance was also particularly difficult

because the organization operated out of a trailer park and rural, isolated

residences. The trailer park was comprised of a closed community of residents

who would easily spot surveillance, and law-enforcement officers were unable to

get within a mile of the open, countryside area surrounding the residents without

risking detection. (Id. at 15-17.) In addition, unmanned electronic-video

surveillance was utilized with only limited success. (Id. at 17-18.)

      Further, although law-enforcement officers attempted to identify members

of the conspiracy by analyzing telephone-subscriber information and telephone


                                          12
     CASE 0:09-cr-00109-JNE-JJK       Doc. 840     Filed 01/08/10   Page 13 of 19




activity, the problem was that actual users of the telephone numbers in question

did not use their real names and addresses, but would provide fake names in

registering the phones or use disposable phones that do not have to be

registered. (Id. at 19-20.) Agent Syversen also explained that search warrants, if

executed too early in an investigation, carry substantial risk that the targets of the

investigation will be alerted and evidence, which is often spread out over different

residences and locations, will be destroyed. (Tr. 20.) He also testified that trash

searches had been attempted, but were of limited use because of their

conspicuousness and because the Defendants never left trash outside of a trailer

in St. Cloud, a primary point of operation. (See id. at 21.)

      In sum, the wiretaps were requested for the purpose of discovering the full

scope of the conspiracy, the full extent of the criminal activities, and to identify

and successfully prosecute each member of the organization. Agent Adamson’s

affidavit in support of the wiretap authorization, and the testimony of Agent

Syversen at the motion hearing, detailed the conventional investigative

techniques used by law-enforcement officers before they sought the wiretap

authorization. The methods included surveillance, confidential informants, trash

collection, pen registers and toll-record information, and showed the difficulties

law-enforcement officers encountered and explained why the investigative

methods that were attempted failed to discover the full scope of the conspiracy.

The affidavit and testimony also established the limited use, and problems


                                          13
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 14 of 19




associated with, other traditional investigative techniques such as grand-jury

subpoenas, search warrants, and undercover investigation.

      Juan Aleman argues that the Government should have engaged in an

undercover investigation to infiltrate the drug conspiracy before seeking wiretap

authorization. Through such infiltration, he argues, the Government may have

been able to obtain much more information about the organization than could be

obtained through the limited involvement of the confidential informants who only

had contact with a few members of the organization. However, there is no

requirement that all investigative techniques be exhausted before a wiretap is

authorized. See Maxwell, 25 F.3d at 1394 (“Even if conventional techniques

have been somewhat successful, however, a wiretap may still be authorized.”).

And Agent Adamson, in his affidavit, testified that law-enforcement officials had

been advised by their confidential informant that Defendant Juan Aleman, and

his brothers, would not meet with an outsider with whom they had not done

business in the past. Adamson, an experienced DEA agent, swore that there

was no avenue known to him whereby an undercover agent could infiltrate this

DTO to be in a position to provide information that was any different from that

provided by the confidential informants while, at the same time, be assured of his

or her safety and/or abide by the standards of conduct prescribed by law or

administrative policy. (Hr’g Ex. 2 ¶ 93.)

      Juan Aleman also argues that the traditional investigative techniques that


                                            14
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 15 of 19




had been utilized before the wiretap authorization provided law-enforcement

officials with sufficient evidence to pursue his prosecution for drug-related

offenses. However, the focus of this wiretap application was on the conspiracy

itself, not merely those individuals like Juan Aleman who were involved, and the

Government adequately established their need for a wiretap to, at a minimum,

discover the full scope of the conspiracy and the full extent of the criminal

activities. See Jackson, 345 F.3d at 645. For these reasons, Juan Aleman’s

motion to suppress evidence obtained through the wiretaps used in the

Government’s investigation should be denied.

      B.     Motion to Sever Defendant and Motion to Sever Counts

      Juan Aleman has filed a motion for severance of defendants and another

for severance of counts pursuant to Rule 14 of the Federal Rules of Criminal

Procedure, asserting that he should be given a separate trial from his co-

defendants and that he should be given separate trials on the various counts

against him in the Superseding Indictment.

      “Co-conspirators ‘will generally be tried together.’” United States v. Abdul-

Ahad, Crim. No. 08-142(7) (DSD/SRN), 2009 WL 35473, at *2 (D. Minn. Jan. 5,

2009) (quoting United States v. O’Meara, 895 F.2d 1216, 1218 (8th Cir. 1990)).

Courts have discretion under Fed. R. Crim. P. 14(a) to sever co-defendant trials

or joinder of offenses where the joinder of the trials would prejudice a defendant.

“A general complaint of prejudice is an insufficient basis for severance.” Abdul-


                                         15
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 16 of 19




Ahad, 2009 WL 35473, at *2. A defendant must show that trial of the offenses

together or joinder of trials with co-defendants will clearly prejudice him, which

means that “the defendant is deprived of an appreciable chance that he would

not have been convicted in a separate trial[.]” O’Meara, 895 F.2d at 1219.

      Juan Aleman’s motions contain only conclusory statements regarding the

impropriety of joinder of his case with that of his alleged co-conspirators and the

trial of the various counts asserted against him together. Such general

complaints of prejudice are insufficient to warrant severance. Here, the

Superseding Indictment charges Juan Aleman with several counts of trafficking

cocaine and methamphetamine as part of a larger drug-trafficking conspiracy.

The record before this Court suggests that “proof of the charges against each of

the Defendants is based on the same evidence and acts.” See O’Meara, 895

F.2d at 1218 (citing United States v. Voss, 787 F.2d 393, 401 (8th Cir. 1986)).

For these reasons, this Court recommends that Juan Aleman’s motions for

severance of counts and severance of his trial with his co-defendants be denied.

      C.     Motion to Suppress Statements, Admissions and Answers of
             Defendant

      As noted above, Juan Aleman has not filed a memorandum or made any

other argument regarding his motion to suppress statements. The motion itself

asserts that any statements he made were taken in violation of his Fifth and Sixth

Amendment rights. However, there is no evidence before this Court regarding

the circumstances of any statements Juan Aleman made to law-enforcement

                                         16
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 17 of 19




officials. Therefore, there is no record on which this Court can determine

whether Juan Aleman’s rights were violated, and his motion to suppress should

be denied accordingly.

      D.    Motion to Suppress Evidence Obtained as a Result of Search
            and Seizure

      Juan Aleman’s motion to suppress evidence asserts that any searches and

seizures performed were conducted without probable cause, exigent

circumstances, or any other justification, and it asserts that the searches

exceeded the scope of any probable cause that did exist. However, he has

presented no argument regarding these alleged violations of his right to be free

from unreasonable searches and seizures, and this Court’s review of the search

warrants provided at the October 13, 2009 hearing reveals no facts warranting

suppression. Therefore, this Court recommends that Juan Aleman’s motion to

suppress be denied.

                               RECOMMENDATON

      Based on the files, records and proceedings herein,

      IT IS HEREBY RECOMMENDED that:

      1.    Defendant (1) Roberto Guadalupe Aleman’s Motion to Suppress

Confessions, Admissions, or Statements Made in the Nature of Confessions

(Doc. No. 622), be DENIED;

      2.    Defendant (1) Roberto Guadalupe Aleman’s Motion to Suppress

Evidence Obtained Through Illegal Search (Doc. No. 625), be DENIED;

                                        17
    CASE 0:09-cr-00109-JNE-JJK    Doc. 840   Filed 01/08/10   Page 18 of 19




      3.    Defendant (1) Roberto Guadalupe Aleman’s Motion to Suppress

Search and Seizure Evidence (Doc. No. 626), be DENIED;

      4.    Defendant (2) Maria Isabel Aleman’s Motion to Suppress Evidence

Obtained Through Electronic Surveillance or Wiretapping (Doc. No. 769), be

DENIED;

      5.    Defendant (2) Maria Isabel Aleman’s Motion to Suppress Evidence

Resulting from Searches and Seizures (Doc. No. 772), be DENIED;

      6.    Defendant Juan Aleman’s Motion to Suppress Evidence of

Electronic Surveillance and Wiretapping (Doc. No. 551), be DENIED;

      7.    Defendant Juan Aleman’s Motion to Suppress Statements,

Admissions and Answers of Defendant (Doc. No. 546), be DENIED;

      8.    Defendant Juan Aleman’s Motion to Sever Defendant (Doc.

No. 570), be DENIED;

      9.    Defendant Juan Aleman’s Motion to Sever Counts (Doc. No. 572),

be DENIED; and

      10.   Defendant Juan Aleman’s Motion to Suppress Evidence Obtained as

a Result of Search and Seizure (Doc. No. 573), be DENIED.


Date: January 8, 2010


                                    s/ Jeffrey J. Keyes
                                    JEFFREY J. KEYES
                                    United States Magistrate Judge


                                      18
     CASE 0:09-cr-00109-JNE-JJK      Doc. 840    Filed 01/08/10   Page 19 of 19




Under D.Minn. LR 72.2(b) any party may object to this Report and
Recommendation by filing with the Clerk of Court, and serving all parties by
January 22, 2010, a writing which specifically identifies those portions of this
Report to which objections are made and the basis of those objections. Failure
to comply with this procedure may operate as a forfeiture of the objecting party's
right to seek review in the Court of Appeals. A party may respond to the
objecting party's brief within 14 days after service thereof. All briefs filed under
this rule shall be limited to 3500 words. A judge shall make a de novo
determination of those portions of the Report to which objection is made. This
Report and Recommendation does not constitute an order or judgment of the
District Court, and it is therefore not appealable directly to the Circuit Court of
Appeals.

       Unless the parties stipulate that the District Court is not required by 28
U.S.C. § 636 to review a transcript of the hearing in order to resolve all objections
made to this Report and Recommendation, the party making the objections shall
timely order and file a complete transcript of the hearing within ten days of receipt
of the Report.




                                         19
